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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


 UNITED STATES OF AMERICA                                                   3:17-CR-00239-HZ

                v.                                         GOVERNMENT’S SENTENCING
                                                                     MEMORANDUM
 BRADLEY CARTER,
                                                                 Sentencing: October 16, 2017
                Defendant.                                                      at 11:00 a.m.


       The United States of America, by and through Billy J. Williams, United States Attorney

for the District of Oregon, and Scott E. Bradford, Assistant United States Attorney, submits this

sentencing memorandum, respectfully recommending that the Court sentence defendant to 8

months of incarceration and order defendant to pay $19,600 in restitution. The sentencing

hearing is currently set for October 16, 2017, at 11:00 a.m.

                                   STATUS OF THE CASE

       On July 2, 2017, defendant, pursuant to a plea agreement, pleaded guilty to a one-count

information in which he was charged with violating 18 U.S.C. § 1030(a)(2), intentionally

accessing a protected computer without authorization. Specifically, he was charged with

accessing, without authorization, the system of a third party vender for Safeway, the grocery
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store chain, which stored customer information, including personal identifying information

(“PII”). Impersonating a Safeway employee, defendant used that information to make harassing

phone calls to Safeway customers. He recorded the harassing phone calls and posted them to

various online forums, including YouTube. Defendant did this to drive traffic to his YouTube

channels, to obtain additional subscribers and page views, and to secure additional advertising

revenue—that is, he did this for purposes of a commercial advantage and private financial gain.

Moreover, in doing so, defendant intended to cash in on the customers’ emotional distress from

defendant’s intrusion into their privacy. The loss associated with defendant’s illegal conduct is

$19,600, and it includes costs associated with mitigating defendant’s conduct, legal expenses,

and other security, investigative, and forensic costs.

                                THE PRESENTENCE REPORT

       The presentence report (PSR) accurately sets forth the underlying facts in this case. As

noted in the plea agreement and the PSR, the government agreed to recommend a 1-level

downward variance to defendant’s offense level, and does so now, to recognize defendant’s early

resolution of this case. The PSR correctly reflects this downward variance and contains an

accurate calculation of the applicable advisory sentencing guideline provisions, including

defendant’s criminal history score: total offense level of 11; criminal history category of I; and

an advisory guideline range of 8-14 months (Zone B).

                                         RESTITUTION

       Regarding restitution, defendant, as part of the plea agreement, agreed to pay $19,600 in

restitution pursuant to 18 U.S.C. § 3663A, the Mandatory Victim Restitution Act (“MVRA”).

The MVRA makes restitution mandatory for offenses involving fraud or deceit without

consideration of a defendant’s economic circumstances. 18 U.S.C. § 3663A(a)(1), (a)(2), and

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(c)(1)(ii); 18 U. S.C. § 3664(f)(1)(A). Restitution includes losses directly resulting from

defendant’s criminal conduct and includes losses relating to the count of conviction and relevant

conduct. United States v. Andrews, 600 F.3d 1167, 1170-71 (9th Cir. 2010); United States v.

Bright, 353 F.3d 1114, 1120-21 (9th Cir. 2004). In this case, the evidence shows, and defendant

agrees, that his criminal conduct resulted in a $19,600 loss to Safeway. Accordingly, this Court

should order defendant to pay $19,600 in restitution.

                            SENTENCING RECOMMENDATION

       Defendant’s conduct constitutes more than a practical joke or a prank that went too far.

He intentionally stole Safeway’s customers’ PII from a protected computer to publically

embarrass them for his personal financial benefit. By doing so, he victimized Safeway and its

customers. He also damaged Safeway’s reputation with those customers, something that is

difficult to quantify. Such conduct is deserving of more than a simple probationary sentence An

8-month term of incarceration is appropriate and reasonable given defendant’s illegal conduct

and the factors outlined in 18 U.S.C. § 3553(a)–that is, this sentence contemplates the nature and

circumstances of the offense and the history and characteristics of the defendant, reflects the

seriousness of the offense, promotes respect for the law, provides just punishment for the

offense, affords adequate deterrence to criminal conduct, and protects the public from further

crimes of the defendant.

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                                        CONCLUSION

       Based on the foregoing, the plea agreement, and the PSR, the government submits a

reasonable sentence for this defendant in this case is 8 months of incarceration. Additionally, the

Court should order defendant to pay $19,600 in restitution.

       Dated this 11th day of October 2017.

                                                     Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     s/ Scott E. Bradford
                                                     SCOTT E. BRADFORD, OSB #062824
                                                     Assistant United States Attorney




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